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October 5, 2021

VIA ECF

Judge Paul A. Engelmayer
United States District Court
40 Foley Square, Room 2201
New York, NY 10007


             Re:    Gill v. National Football League, et al., No. 21 Civ. 1032
                    Joint Letter for Rule 16(c) Conference

Dear Judge Engelmayer:
       Pursuant to your Honor’s Individual Rule 2.B., Plaintiff Sietel Singh Gill and
Defendants National Football League (“NFL”) and NFL Enterprises LLC (“NFLE”)
submit this joint letter in connection with their proposed Civil Case Management
Plan and Scheduling Order and the Parties’ Initial Case Management Conference,
set for October 12, 2021.
      The Parties conducted their Rule 26(f) conferences on July 21 and September
1, 2021. The Parties also met with Defendants’ newly substituted counsel on
October 4, 2021.

      To date, the Parties have been unable to agree on a discovery schedule.
Accordingly, Plaintiff’s proposed schedule and case management plan is enclosed as
Exhibit A. Because Defendants seek to stay discovery pending their motion to
dismiss, no counterproposal is being submitted.

      Plaintiff’s Description of the Case
       As outlined in the First Amended Complaint (“FAC”) (ECF No. 23), Plaintiff
brings this putative class action on behalf of himself and other purchasers of NFL’s
“Game Pass” subscription (i.e., a streaming service provided by Defendants to watch
United States football games for the 2019–20 season, including the Super Bowl). As
a result of Defendants’ alleged failures, Game Pass crashed multiple times during
the Super Bowl, resulting in Plaintiff and the proposed class members’ inability to
livestream crucial portions of the game, including the final three minutes when the
teams were locked in a one-score game. Plaintiff’s complaint further alleges claims
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for breach of contract, breach of implied warranty of merchantability, or, in the
alternative, unjust enrichment.
      Defendants’ Position With Respect to Plaintiff’s Claims
       Defendants dispute Plaintiff’s above factual contentions, and Defendants
have filed a motion to dismiss the FAC, or in the alternative strike the class
allegations, which are defective on the face of the FAC. See ECF No. 25. Plaintiff
has not sufficiently alleged the existence of a contract between himself and
Defendants for the international “Game Pass Pro” subscription at issue, nor could
he, as Plaintiff did not purchase the subscription from Defendants and neither the
NFL nor the NFLE provides or operates Game Pass Pro. Indeed, the only contract
the FAC incorporates establishes that Plaintiff instead acquired his international
Game Pass Pro subscription from unaffiliated third parties (i.e., Overtier
Operations and Deltatre S.p.A.) located in the Cayman Islands and Italy, that
provide and operate the Game Pass Pro product to which certain non-US customers
subscribe. Those contract terms are governed, in Plaintiff’s case, by Australian law
and are subject to the jurisdiction of the Australian courts.
       Plaintiff’s class allegations are similarly without merit. The proposed class
lacks Article III standing and the class allegations are based on highly
individualized circumstances and the subjective beliefs of potentially hundreds of
thousands of individuals who contracted, not with Defendants, but rather with the
third parties identified above.
      Contemplated Motions
      The Parties’ briefing on Defendants’ motion to dismiss was completed on
June 24, 2021. See ECF Nos. 25, 31, and 33. Plaintiff has requested oral argument
on the motion (see ECF No. 32), while Defendants believe that argument is
unnecessary. Defendants have also requested a stay of discovery (pending this
Court’s decision on the motion), which Plaintiff opposes. See ECF Nos. 37 & 39.
        If Defendants’ motion and requested stay is denied, Plaintiff intends to
engage in fact and expert discovery, and then move for class certification. Because
this dispute is a relatively straightforward, Plaintiff believes that separating
“merits” discovery from “class” discovery would be inefficient and confuse the issues
unnecessarily. Defendants intend to seek bifurcation of any discovery, such that
merits discovery shall not commence until after any motion by Plaintiffs for class
certification has been decided.

    The Parties further anticipate filing motions for summary judgment and/or
summary adjudication on similar grounds. And, while the Parties intend to
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cooperate with each other in discovery (see Local Civ. R. 26.4), the Parties also
contemplate filing discovery-related motions as necessary.
      Prospect for Settlement
       Plaintiff has expressed his interest in exploring settlement, but Defendants
have rejected such overtures. Defendants have also rejected Plaintiff’s request for
documents in aid of settlement, including (a) copies of the terms and conditions
applicable to Game Pass since Plaintiff’s initial subscription in 2013; and (b) copies
of the agreements (the existence of which Defendants do not deny) made between
Defendants and the purportedly responsible “third-parties,” Overtier Operations
and Deltatre S.p.A.

                                               Respectfully submitted,

                                               /s/ Raphael Janove

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                                              and the Proposed Class

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                                              Attorneys for Defendants National
                                              Football League and NFL Enterprises
                                              LLC

Enclosures
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               Exhibit A
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
--------------------------------------------------------------------------
                                                                         X
SIETEL SINGH GILL, individually and on behalf of other similarly         :
situated individuals,                                                    :
                                                                         :
                                             Plaintiff(s),               :       1:21-cv-01032-PAE
                           -v-                                           :
NATIONAL FOOTBALL LEAGUE, a New York unincorporated                      :         CIVIL CASE
association, and NFL ENTERPRISES, LLC, a Delaware limited                :       MANAGEMENT
liability company,                           Defendant(s).               :         PLAN AND
                                                                         :     SCHEDULING ORDER
                                                                         :
------------------------------------------------------------------------ X

       This Civil Case Management Plan (the “Plan”) is submitted by the parties in accordance
with Fed. R. Civ. P. 26(f)(3).
                                           ✔
1.       All parties (consent) (do not consent) to conducting all further proceedings before a
         Magistrate Judge, including motions and trial. 28 U.S.C. § 636(c). [Circle one.] The
         parties are free to withhold consent without adverse substantive consequences. [If all
         parties consent, the remaining paragraphs need not be completed.]
                       ✔
2.       This case (is) (is not) to be tried to a jury. [Circle one.]

3.       Amended pleadings may not be filed and additional parties may not be joined except with
         leave of the Court. Any motion to amend or to join additional parties shall be filed within
         60 days from the date of this Order. [Absent exceptional circumstances, thirty (30)
         ___
         days.]

4.       Initial disclosures, pursuant to Fed. R. Civ. P. 26(a)(1), shall be completed no later than
         14 days from the date of this Order. [Absent exceptional circumstances, fourteen (14)
         ___
         days.]

5.       All fact discovery shall be completed no later than ______________.
                                                             February 28, 2022  [A period not to
         exceed 120 days, unless the Court finds that the case presents unique complexities or
         other exceptional circumstances.]

6.       The parties are to conduct discovery in accordance with the Federal Rules of Civil
         Procedure and the Local Rules of the Southern District of New York. The following
         interim deadlines may be extended by the written consent of all parties without
         application to the Court, provided that all fact discovery is completed by the date set forth
         in paragraph 5 above.

         a.       Initial requests for production of documents to be served by _________________.
                                                                                             November 1, 2021

         b.       Interrogatories to be served by ________________________________________.
                                                   November 15, 2021 (initial interrogatories)




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      c.                                       February 28, 2022
               Depositions to be completed by _______________________________________.
      d.                                                       January 28, 2022
               Requests to Admit to be served no later than _____________________________.

7.    a.                                                                April 14, 2022
               All expert discovery shall be completed no later than ______________________.
               [Absent exceptional circumstances, a date forty-five (45) days from the date in
               paragraph 5, i.e., the completion of all fact discovery.]

      b.       No later than thirty (30) days prior to the date in paragraph 5, i.e., the completion
               of all fact discovery, the parties shall meet and confer on a schedule for expert
               disclosures, including reports, production of underlying documents and
               depositions, provided that (i) expert report(s) of the party with the burden of proof
               shall be due before those of the opposing party’s expert(s); and (ii) all expert
               discovery shall be completed by the date set forth in paragraph 7(a).

8.    All motions and applications shall be governed by the Court’s Individual Rules and
      Practices, including the requirement of a pre-motion conference before a motion for
      summary judgment is filed. Pursuant to the authority of Fed. R. Civ. P. 16(c)(2), any
      motion for summary judgment will be deemed untimely unless a request for a pre-motion
      conference relating thereto is made in writing within fourteen (14) days of the date in
      paragraph 5, i.e., the close of fact discovery.

9.    All counsel must meet face-to-face for at least one hour to discuss settlement within
      fourteen (14) days following the close of fact discovery.

10.   a.       Counsel for the parties have discussed an informal exchange of information in aid
               of early settlement of this case and have agreed upon the following:

               __________________________________________________________________
               Plaintiff proposes that Defendants provide (a) copies of the terms and conditions applicable to Game Pass from 2013 to the present

               __________________________________________________________________
               and (b) copies of the agreements between Defendants and the purportedly responsible “third-parties,” Overtier Operations and Deltatre S.p.A.

               __________________________________________________________________

      b.       Counsel for the parties have discussed the use of the following alternate dispute
               resolution mechanisms for use in this case: (i) a settlement conference before a
               Magistrate Judge; (ii) participation in the District’s Mediation Program; and/or
               (iii) retention of a privately-retained mediator. Counsel for the parties propose the
               following alternate dispute resolution mechanism for this case:
               The parties disagree as to the value of alternate dispute resolution at this time. Plaintiff has
               __________________________________________________________________
               proposed an early document exchange, but Defendants have declined.
               __________________________________________________________________

      c.       Counsel for the parties recommend that the alternate dispute resolution
               mechanism designated in paragraph 10(b), be employed at the following point in
               the case (e.g., within the next sixty days; after the deposition of plaintiff is
               completed (specify date); after the close of fact discovery):
               N/A
               __________________________________________________________________
               __________________________________________________________________



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         d.        The use of any alternative dispute resolution mechanism does not stay or modify
                   any date in this Order.

11.      The Final Pretrial Order date is thirty (30) days following the close of fact and expert
         discovery (whichever is later). By the Final Pretrial Order date, the parties shall submit a
         Joint Pretrial Order prepared in accordance with the undersigned’s Individual Rules and
         Practices and Fed. R. Civ. P. 26(a)(3). Any motions in limine shall be filed after the close
         of discovery on or before the Final Pretrial Order date. If this action is to be tried before
         a jury, proposed voir dire, jury instructions and verdict form shall also be filed on or
         before the Final Pretrial Order date. Counsel are required to meet and confer on a joint
         submission of proposed jury instructions and verdict form, noting any points of
         disagreement in the joint submission. Jury instructions may not be submitted after the
         Final Pretrial Order date, unless they meet the standard of Fed. R. Civ. P. 51(a)(2)(A). If
         this action is to be tried to the Court, proposed findings of fact and conclusions of law
         should be submitted on or before the Final Pretrial Order date.

12.      Counsel for the parties have conferred and their present best estimate of the length of trial
            seven days.
         is ___________________.

13.      [Other items, including those in Rule 26(f)(3).]
         [PROPOSED] Defendants have agreed to identify at initial disclosures any
         companies that hold documents relevant to the claims (e.g. companies holding
         consumer information, billing records, streaming usage records, etc.).

         Because Plaintiff will be seeking class certfication, Plaintiff has asked for a
         slightly longer fact discovery period. Plaintiff intends to move for class
         certification following the close of all discovery. The parties are discussing
         language for a protective order due to purportedly confidential consumer
         information.


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TO BE COMPLETED BY THE COURT:

The Plan has been reviewed by the Court and, except as modified, is adopted as the Scheduling
Order of this Court in accordance with Fed. R. Civ. P. 16(b).

14.      [Other]




15.      The next Case Management Conference is scheduled for ______________ at _________


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        This ORDER may not be modified or the dates herein extended, except by further Order
of this Court for good cause shown. Any application to modify or extend the dates herein
(except as noted in paragraph 6) shall be made in a written application in accordance with
paragraph 1.E of the Court’s Individual Rules and Practices and shall be made no less than two
(2) business days prior to the expiration of the date sought to be extended.




                                                   ____________________________________
                                                         Paul A. Engelmayer
                                                         United States District Judge

Dated:        New York, New York
              ____________________




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